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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
        v.
                                                       Criminal Action No. 22-299-2 (CKK)
 DONALD CHILCOAT,
             Defendant.


                                            ORDER
                                       (February 22, 2023)

       Pending before the Court is Defendant DONALD CHILCOAT (2)’s [50] Second Motion
to Modify Conditions of Release. Defendant asks the Court to “remov[e] the condition that
requires location monitoring and expand[] his curfew to provide him greater work flexibility.”
ECF No. 50 at 1.
       Defendant explains that since the Court granted his last Motion to Modify Conditions of
Release, see ECF No. 31, he has obtained employment at Elm Co. Engineering in roles of both
millwright and fabricator. ECF No. 50 at 2. Defendant contends that because the hours are
unpredictable and jobs often require travel throughout Ohio, he has not been able to take many
millwright jobs due to his conditions of release. Id. Defendant therefore requests that the Court
modify his current curfew by ordering that he abide by a curfew from 10:00 pm – 3:30 am. Id. at
3. Defendant’s current curfew is 9:00 pm – 5:00 am. See ECF No. 31. Additionally, Defendant
explains that he wears work boots that cause his location monitoring bracelet to be
uncomfortable around his ankle, which is exacerbated as he works in manual labor. ECF No. 50
at 2. Defendant therefore requests that the Court modify his conditions of release to lift the
condition that he abide by location monitoring. Id. at 3.
       The Government opposes Defendant’s Motion as it relates to the removal of the location
monitoring condition. See generally ECF No. 51. The Government argues that “slight
discomfort is not sufficient justification to warrant removal of the condition altogether.” Id. The
Government also opposes Defendant’s Motion to change his curfew to 10:00 pm – 3:30 am. Id.
at 3. In the Court’s [31] Order, the Court previously granted Defendant’s Motion to Modify
Conditions of Release by releasing him from home detention in order to find employment; at that
time the Court added a curfew to Defendant’s conditions of release. See id.; see also Order, ECF

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No. 31. Now, the Government argues that Defendant’s request for “additional flexibility… [of]
18.5 hours a day in total [] is unreasonable.” ECF No. 51 at 3. However, the Government
indicates that it does not oppose a curfew of 9:00 pm – 4:00 am. Id.
       Pretrial Services similarly opposes Defendant’s Motion. They indicate that “given the
nature and seriousness of the charges presented,” they do not recommend lower levels of
supervision and that removal from location monitoring would be a reduction in supervision.
ECF No. 52 at 2. Pretrial Services also “requests the defendant remain on a curfew while this
case is pending.” Id.
       All parties acknowledge that Defendant is, to date, compliant with his conditions of
release. However, compliance alone is not grounds to modify conditions of release.
       For the reasons explained above, it is hereby ORDERED that the [50] Second Motion to
Modify Conditions of Release as to DONALD CHILCOAT (2) is GRANTED IN PART and
DENIED IN PART. It is ORDERED that the [15] Order Setting Conditions of Release as to
DONALD CHILCOAT (2) is AMENDED as follows:
       Defendant DONALD CHILCOAT (2) remains subject to curfew; he is restricted to his
residence every day from 9:00 pm to 4:00 am.
       The Court DENIES IN PART the [50] Motion to the extent that it seeks to lift the
condition of location monitoring. Defendant DONALD CHILCOAT (2) remains subject to
location monitoring as set forth in the [15] Order Setting Conditions of Release.

SO ORDERED.

                                                       /s/
                                                     COLLEEN KOLLAR-KOTELLY
                                                     United States District Judge




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